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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION


 THE ESTATE OF JOSHUA CROUCH by )
 its Administrators, Michael Nugent and Ken )
 Nugent,                                    )
                                            )
               Plaintiff,                   )
                                            )
       vs.                                  )         1:08-cv-1157-SEB-TAB
                                            )
 MADISON COUNTY, BRIAN PARNELL, )
 MICHAEL BARNES, and CRAIG CRISP, )
                                            )
               Defendants.                  )


  ORDER GRANTING DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT


       This cause is before the Court on Defendants’ Motion for Summary Judgment

 [Docket No. 37], filed on September 4, 2009, pursuant to Federal Rule of Civil Procedure

 56. Plaintiff, the Estate of Joshua Crouch, brings this claim pursuant to 42 U.S.C. § 1983

 against Defendants, Madison County, Brian Parnell, Michael Barnes, and Craig Crisp,

 alleging that the constitutional rights of Joshua Crouch were violated by the named

 defendants. The Complaint also asserts a state law claim of negligence. For the reasons

 detailed in this entry, we GRANT Defendants’ Motion for Summary Judgment.



                                   Factual Background

       The Madison County Community Justice Center is a community corrections
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 program organized, operated, and funded under the provisions of Ind. Code §§ 11-12.

 The Madison County Work Release Center (“the WRC”) is a division of the Madison

 County Community Justice Center. The WRC has space for ninety-two residents and is

 generally at full capacity, housing individuals both pre- and post-conviction. Affidavit of

 Ann Roberts (“Roberts Aff.”) ¶¶ 1, 3. Residents are released during the day to seek and

 maintain employment and are also permitted passes to conduct personal affairs, including

 shopping, family visits, treatment programs, and obtaining medical care. The WRC does

 not maintain its own medical staff, so the residents are responsible for arranging their

 own medical treatment as necessary. Passes for emergency medical care can be requested

 at any time and, if required, residents may also request that staff call for an ambulance or

 they may do so themselves. Id. ¶¶ 4-5.

        On July 26, 2007, Joshua Crouch arrived at the WRC to complete a sentence for

 driving while intoxicated and possession of marijuana. Administrators at the WRC were

 aware that Mr. Crouch was addicted to drugs, specifically, opiates, and that he was

 attending Alcoholics Anonymous and Narcotics Anonymous meetings to help him deal

 with his addiction. Mr. Crouch had informed the WRC that he was having difficulty

 overcoming his addiction and that he needed assistance in doing so.1 Deposition of Ann

 Roberts (“Roberts Dep.”) at 39, 47, 63-65. During his time at the WRC, Mr. Crouch

 requested and was granted two passes for medical appointments. Roberts Aff. ¶ 8.


        1
          It is unclear from the record whether the individual defendants named in this case had
 personal knowledge of these facts, however.

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        On August 6, 2007, correctional officers Craig Crisp and Brian Purnell were on

 duty at the WRC. Affidavit of Craig Crisp (“Crisp Aff.”) ¶ 2; Affidavit of Brian Purnell

 (“Purnell Aff.”) ¶ 2). Around 6:30 p.m. that day, Officer Crisp received a telephone call

 from Kelly Hall, a staff member from Labor Ready, a temporary employment agency. Mr

 Crouch had been outside the WRC that day, attempting to get a day labor job. However,

 Ms. Hall informed Officer Crisp that she had sent Mr. Crouch back to the WRC at

 approximately 5:30 p.m. because he appeared to be “on something” and unfit for work.

 Crisp Aff. ¶ 3. She reported that it had taken Mr. Crouch approximately ten minutes to

 sign his name on a required form. Id. Ms. Hall testified by affidavit that she also told

 Officer Crisp that she was sufficiently worried about Mr. Crouch’s level of intoxication

 that she believed he should go to the hospital. Affidavit of Kelly Hall (“Hall Aff.”) ¶¶ 13-

 14. Ms. Hall further testified that, when she observed Mr. Crouch at 5:30 p.m., his eyes

 were rolling back in his head, he was rocking back and forth, and leaning on the counter

 for balance. Id. ¶ 7. However, Ms. Hall did not inform Officer Crisp of these specific

 observations.

        Mr. Crouch did not return to the WRC until somewhere between 7:30 and 8:00

 p.m. that evening. When Mr. Crouch returned, Officer Crisp informed Officer Purnell of

 the telephone call he had received from Ms. Hall and instructed Officer Purnell to place

 Mr. Crouch near a set of stairs in an area across from the WRC’s main control desk

 pending tests for drugs and alcohol. Crisp Aff. ¶ 4. At the time the events transpired

 resulting in this litigation, residents waiting to have drug tests administered were placed

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 in this area so they remained in view of the correctional officers at the main control desk

 thereby reducing the possibility of their tampering with the testing procedures and/or

 results. Id. ¶ 15. However, Mr. Crouch was not under direct visual observation at all

 times while he was sitting by the stairway.2 Crisp Dep. at 25; Purnell Dep. at 24.

        When residents return to the WRC, they are required to be pat searched. The

 WRC’s Security Director, Toni Elsworth, testified by deposition that this policy is in

 place in order to prevent residents, many of whom have substance abuse problems, from

 gaining access to drugs on the outside and bringing them back to the WRC. Deposition

 of Toni Elsworth (“Elsworth Dep.”) at 29-30. However, Officer Purnell does not recall

 subjecting Mr. Crouch to a pat search nor were any items confiscated from Mr. Crouch

 upon his return to the WRC. Purnell Aff. ¶ 7. Despite later determining that Officers

 Purnell and Crisp violated the WRC’s search policy in this respect, they did not receive

 discipline for that violation. Ellsworth Dep. at 20.

        Officers Purnell and Crisp testified that Mr. Crouch’s eyes were red and glassy and

 that his speech was slow and slurred, but that he could communicate and was responsive

 to questions and instructions. According to the officers, though unsteady on his feet, he

 could stand and walk without assistance. Purnell Aff. ¶ 5; Crisp Aff. ¶ 6. Officer Crisp

 administered a portable breath test and Mr. Crouch tested negative for alcohol. Crisp Aff.



        2
          This policy has since been changed because the WRC determined that correctional
 officers were unable to properly supervise residents in the stairways. Elsworth Dep. at 24, 39-
 40.

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 ¶ 7. When asked if he had taken any drugs, Mr. Crouch denied taking anything other than

 his prescription medication that had been dispensed by the correctional officers.

 According to Officer Crisp, Mr. Crouch explained that his condition was the result of his

 being awake since early in the morning. The officers checked the log and confirmed that

 he had been awake since before 4:00 a.m. that morning. Despite this explanation, Officer

 Crisp decided that he would require Mr. Crouch to undergo a for-cause urine screening

 based on the information he had received about Mr. Crouch’s condition from Ms. Hall

 and the unaccounted for time between Ms. Hall’s telephone call and Mr. Crouch’s arrival

 back at the WRC. Id. ¶¶ 8-9.

           Mr. Crouch completed the paperwork required for a for-cause urine screen without

 apparent difficulty. Officer Crisp then accompanied him to a restroom to complete the

 test, but Mr. Crouch was unable to provide a urine sample for the test, allegedly due to a

 “shy bladder.” Id. ¶¶ 11, 13. Over the next several hours, Officer Crisp took Mr. Crouch

 to the bathroom approximately six more times in an attempt to obtain a urine sample, but

 was never able to do so. During that time period, Mr. Crouch came to the control desk on

 several occasions to request cups of water, a sack lunch, and permission to go to the

 vending machine area. According to Officers Crisp and Purnell, Mr. Crouch never

 appeared to have any problems standing or walking without aid and was able to

 communicate with the officers throughout this time. Id. ¶¶ 14, 17-19; Purnell Aff. ¶¶ 10-

 12, 17.

           At approximately 11:00 p.m. that night, correctional officer Michael Barnes came

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 on duty and was briefed on the situation regarding Mr. Crouch (i.e., that he appeared to be

 under the influence of drugs or alcohol and was sitting in the area near the stairway

 awaiting a drug screening). Affidavit of Michael Barnes (“Barnes Aff.”) ¶¶ 3-4. When

 Officer Barnes spoke with Mr. Crouch, he noticed that Mr. Crouch’s speech was “thick-

 tongued” but stated that they were nevertheless able to communicate with him without

 difficulty. Id. ¶ 7. Officer Barnes testified by affidavit, stating that, at that time, Mr.

 Crouch appeared to be responsive to questions and able to understand directions.

 Although Officer Barnes believes that Mr. Crouch’s balance was not perfect, he (Mr.

 Crouch) was able to walk and stand unassisted. Officer Barnes stated that Mr. Crouch

 appeared to have been under the influence of something, but was not severely

 incapacitated. Id. ¶¶ 7-9.

        Around midnight, Mr. Crouch requested his prescription medication, clonidine.

 According to Officers Crisp, Purnell, and Barnes, when they told Mr. Crouch of their

 reluctance to give him his medication, he became agitated and threatened to file a

 grievance. Id. ¶ 11; Crisp Aff. ¶ 20; Purnell Aff. ¶ 15. Officer Barnes conducted some

 research on the Internet on clonidine and determined (inaccurately) that it was heart

 medication.3 Barnes Dep. at 19-20. Although he was unaware of what, if any, synergistic

 effect it would have if combined with other drugs in Mr. Crouch’s system, Officer Barnes

        3
          Clonidine is actually prescribed for the treatment of high blood pressure. Roberts Dep.
 at 37-38. Non-FDA approved or off-label uses include treatment of symptoms of narcotic
 withdrawal. Officers Barnes and Crisp were aware that a medication that lowers blood pressure
 could be harmful to a person already impaired on drugs, but, as discussed above, they mistakenly
 believed that clonidine was heart medication. Id. at 38.

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 told Officer Purnell that he had not found any information which caused him to believe

 that Mr. Crouch should not be given his medication. Barnes Aff. ¶ 12. Based on Officer

 Barnes’s representation, Officer Purnell gave Mr. Crouch the prescription drug at

 approximately 12:36 a.m., on August 7, 2007. Purnell Aff. ¶ 15; Pl.’s Exh. 23

 (Medication Log).

        At some point after Mr. Crouch was given his dose of clonidine, he moved from

 his chair near the stairway to the steps themselves and looked as though he was

 attempting to get some sleep. Id. ¶ 19; Crisp Aff. ¶ 22; Barnes Aff. ¶ 13. It appears from

 the surveillance video that around 2:07 a.m., Officer Crisp approached the area where Mr.

 Crouch was lying on the stairs, took out his cell phone, pointed it at Mr. Crisp, and,

 according to Plaintiff, took a picture. He then returned to the main control desk and

 showed his cell phone screen to Officers Barnes and Purnell. Exh. A to Roberts Dep.

 (WRC Security Video). All three officers deny that a picture was taken and there is no

 copy of the photograph if one in fact was taken.

        At approximately 3:00 a.m., as he was leaving work at the end of his shift, Officer

 Purnell found Mr. Crouch unresponsive on the stairs. Purnell Aff. ¶ 20. Officer Barnes

 reported that when he responded to Officer Purnell’s summons, he found Mr. Crouch to

 be “deep blue, almost purple” in color. Barnes Dep. at 30; Barnes Aff. ¶ 16. Mr. Crouch

 was not breathing and the officers could not detect a pulse. When Officer Barnes was

 unable to rouse Mr. Crouch, the officers picked him up from the stairs and laid him on the

 floor. Officers Barnes and Crisp began administering CPR while Officer Purnell called

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 911 to get an ambulance. At some point during the administration of CPR, Mr. Crouch

 vomited. The ambulance arrived a few minutes later and paramedics took over the

 administration of treatment. Id. ¶¶ 17-18; Crisp Aff. 23-25; Purnell Aff. ¶ 21.

        Mr. Crouch was transported to the hospital, but he never revived, and was

 pronounced dead from a drug overdose at 3:26 a.m., on August 7, 2007. Pl.’s Exh. 8

 (Autopsy Report) at 1. At the hospital, a syringe containing morphine was found sewn

 into Mr. Crouch’s underwear. Id. at 1, 3. According to the autopsy report, Mr. Crouch

 died of mixed drug intoxication, including amphetamines as well as the opiates morphine

 and hydrocodone. Id. at 1-2, 6. Ms. Elsworth testified by deposition that the Indiana

 State Police conducted an investigation of Mr. Crouch’s death and concluded that he had

 taken drugs both before his return to the WRC and while in the WRC, the combination of

 which caused his death. Elsworth Dep. at 28.

        In their affidavits, Officers Barnes, Crisp, and Purnell testified that, prior to 3:00

 a.m. on August 7, 2007, Mr. Crouch did not indicate to them that he was under the

 influence of drugs, had drugs on his person,4 or that he was in distress or needed medical

 care, nor did they see anything that would have alerted them to the fact that Mr. Crouch

 needed such assistance. Other than his request for his prescription medicine, Officers

 Barnes, Crisp, and Purnell claim that they never heard Mr. Crouch request medical care at



        4
         Officers Barnes and Crisp testified by affidavit that they assumed Officer Purnell had
 conducted a pat search for drugs of Mr. Crouch upon his return to the WRC. Crisp Aff. ¶ 10;
 Barnes Aff. ¶ 10.

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 any time. Crisp Aff. ¶¶ 21, 28-29; Purnell Aff. ¶¶ 16, 23-24; Barnes Aff. ¶¶ 19, 21-22.

 However, accounts from some of the WRC’s residents who were present on August 6,

 2007, differ from the officers’ descriptions of Mr. Crouch’s behavior and state of

 impairment.

        For example, WRC resident Darreck Pierce testified by affidavit that he saw Mr.

 Crouch at various times throughout the night (9:30 p.m., 11:30 p.m., and around 12:30

 a.m.) and that “he did not look good.” Affidavit of Darreck Pierce (“Pierce Aff.”) ¶¶ 9,

 13, 19. Mr. Pierce asserts that Mr. Crouch “looked pale and was slouched over with his

 head down.” Id. ¶ 9. When he asked the guard at the desk what was wrong with Mr.

 Crouch, the guard told him that Mr. Crouch was “messed up.” Id. ¶ 10. According to Mr.

 Pierce, Mr. Crouch told the guards on duty that he needed to go to the hospital, but that

 Officer Purnell told Mr. Crouch that he could not go to the hospital while he was “messed

 up.” Id. ¶ 15.

        Another resident, Agie Stonebarger, testified by affidavit that he saw Mr. Crouch

 on the stairs and observed bubbles or foam coming out of his nose. Affidavit of Agie

 Stonebarger (“Stonebarger Aff.”) ¶ 8. He also testified that Mr. Crouch told the guards at

 least twice that he wanted to go to the hospital but that he (Mr. Crouch) was told that he

 could not go anywhere until he provided a urine sample. Id. ¶ 9. According to Mr.

 Stonebarger, Mr. Crouch “was in the worst condition I’ve ever seen anyone.” Id. ¶ 12.

        A third resident, Steven Gray, testified that “it was obvious” that Mr. Crouch had

 overdosed on drugs and needed help and that, had they been “on the outside,” Mr. Gray

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 “would have definitely taken him to the hospital because it was obvious he needed

 medical attention.” Affidavit of Steven Gray (“Gray Aff.”) ¶¶ 6-8. At one point during

 the night, Mr. Gray observed that Mr. Crouch could barely lift his head and that Mr.

 Crouch’s eyes were “rolling around in different directions.” Id. ¶ 4. Mr. Gray also stated

 that the guards present were able to observe Mr. Crouch’s condition. Id. ¶ 9.

        At the time of Mr. Crouch’s death, the WRC allegedly had no policies or training

 programs in place addressing ways to respond to medical emergencies, such as a

 resident’s potential drug overdose. Elsworth Dep. at 40-43; Roberts Dep. at 41-45. In

 December 2007, a few months after Mr. Crouch’s death, the WRC adopted a policy that

 inmates who appear impaired on drugs are to be placed in the correctional officers’

 station, rather than across the hall by the stairway where Mr. Crouch was kept, so that

 they are under direct visual observation by the officers at all times. Elsworth Dep. at 39,

 41. In late June or early July 2009, the WRC changed its policies to require residents

 who test negative for alcohol but are suspected of being impaired on drugs to

 automatically be taken to the hospital. Id. at 40-41.



                                       Legal Analysis

 I.     Standard of Review

        Summary judgment is appropriate when the record shows that there is “no genuine

 issue as to any material fact and that the moving party is entitled to a judgment as a matter

 of law.” Fed. R. Civ. P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

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 Disputes concerning material facts are genuine where the evidence is such that a

 reasonable jury could return a verdict for the non-moving party. Anderson v. Liberty

 Lobby, Inc., 477 U.S. 242, 248 (1986). In deciding whether genuine issues of material

 fact exist, the court construes all facts in a light most favorable to the non-moving party

 and draws all reasonable inferences in favor of the non-moving party. See id. at 255.

 However, neither the “mere existence of some alleged factual dispute between the

 parties,” id., 477 U.S. at 247, nor the existence of “some metaphysical doubt as to the

 material facts,” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586

 (1986), will defeat a motion for summary judgment. Michas v. Health Cost Controls of

 Ill., Inc., 209 F.3d 687, 692 (7th Cir. 2000).

        Summary judgment is not a substitute for a trial on the merits nor is it a vehicle for

 resolving factual disputes. Waldridge v. Am. Hoechst Corp., 24 F.3d 918, 920 (7th Cir.

 1994). Therefore, after drawing all reasonable inferences from the facts in favor of the

 non-movant, if genuine doubts remain and a reasonable fact-finder could find for the

 party opposing the motion, summary judgment is inappropriate. See Shields Enterprises,

 Inc. v. First Chicago Corp., 975 F.2d 1290, 1294 (7th Cir. 1992); Wolf v. City of

 Fitchburg, 870 F.2d 1327, 1330 (7th Cir. 1989). But, if it is clear that a plaintiff will be

 unable to satisfy the legal requirements necessary to establish his or her case, summary

 judgment is not only appropriate, but mandated. See Celotex, 477 U.S. at 322; Ziliak v.

 AstraZeneca LP, 324 F.3d 518, 520 (7th Cir. 2003). A failure to prove one essential

 element “necessarily renders all other facts immaterial.” Celotex, 477 U.S. at 323.

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        The party seeking summary judgment on a claim on which the non-moving party

 bears the burden of proof at trial may discharge its burden by showing an absence of

 evidence to support the non-moving party's case. Celotex, 477 U.S. at 325. A plaintiff’s

 self-serving statements, which are speculative or which lack a foundation of personal

 knowledge, and which are unsupported by specific concrete facts reflected in the record,

 cannot preclude summary judgment. Albiero v. City of Kankakee, 246 F.3d 927, 933 (7th

 Cir. 2001); Stagman v. Ryan, 176 F.3d 986, 995 (7th Cir. 1999); Slowiak v. Land

 O’Lakes, Inc., 987 F.2d 1293, 1295 (7th Cir. 1993).



 II.    Section 1983

        Plaintiff brings its federal claims under 42 U.S.C. § 1983, which provides in

 relevant part:

        Every person who, under color of any statute, ordinance, regulation, custom,
        or usage, of any State or Territory or the District of Columbia, subjects, or
        causes to be subjected, any citizen of the United States or other person within
        the jurisdiction thereof to the deprivation of any rights, privileges, or
        immunities secured by the Constitution and laws, shall be liable to the party
        injured.

        Thus, to recover under § 1983, Plaintiff must establish that Mr. Crouch was

 deprived of a right secured by the Constitution or laws of the United States by a person

 acting under color of state law. West v. Atkins, 487 U.S. 42, 48 (1988). Plaintiff’s core

 federal claims in this lawsuit are that Officers Barnes, Crisp, and Purnell were

 deliberately indifferent to Mr. Crouch’s serious medical needs in violation of the Eight


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 Amendment to the United States Constitution and that Madison County is liable because

 it failed to train its officers or establish policies regarding the medical care of the WRC

 inmates.



        A.     Individual Officers

        The Eighth Amendment’s prohibition against cruel and unusual punishment

 protects inmates “against a lack of medical care that ‘may result in pain and suffering

 which no one suggests would serve any penological purpose.’” Rodriguez v. Plymouth

 Ambulance Serv., 577 F.3d 816, 828 (7th Cir. 2009) (quoting Estelle v. Gamble, 429 U.S.

 97, 103 (1976)). Accordingly, under Seventh Circuit law, a governmental officer may be

 held individually liable under Section 1983, if he exhibits “deliberate indifference to

 serious medical needs” of an inmate, such as intentionally denying or delaying access to

 medical care or intentionally interfering with prescribed treatment. Id. at 828-29.

 However, mere negligence in the provision of medical care is not a constitutional

 violation. Id. at 829. Rather, a plaintiff must show both: (1) an objectively serious

 medical condition to which (2) a state official was deliberately, that is subjectively,

 indifferent. Id. (citing Duckworth v. Ahmad, 532 F.3d 675, 679 (7th Cir. 2008)).

        The objective prong requires that “the illness or injury for which assistance is

 sought is sufficiently serious or painful to make the refusal of assistance uncivilized.”

 Gutierrez v. Peters, 111 F.3d 1364, 1372 (7th Cir. 1997) (quoting Cooper v. Casey, 97

 F.3d 914, 916 (7th Cir. 1996)). Under Seventh Circuit law, an objectively serious

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 medical condition “is one that ‘has been diagnosed by a physician as mandating treatment

 or one that is so obvious that even a lay person would perceive the need for a doctor’s

 attention.’” Thomas v. Cook County Sheriff’s Dep’t, 588 F.3d 445, 452 (7th Cir. 2009)

 (quoting Hayes v. Snyder, 546 F.3d 516, 522 (7th Cir. 2008)). To satisfy the subjective

 component of the test and prove deliberate indifference, a plaintiff must demonstrate that

 the individual defendants “intentionally disregarded the known risk to inmate health or

 safety.” Collins v. Seeman, 462 F.3d 757, 762 (7th Cir. 2006). In other words, “[t]he

 officials must know of and disregard an excessive risk to inmate health; indeed, they must

 ‘both be aware of facts from which the inference could be drawn that a substantial risk of

 serious harm exists’ and ‘must also draw the inference.’” Greeno v. Daley, 414 F.3d 645,

 653 (7th Cir. 2005) (quoting Farmer, 511 U.S. at 837).

        Given these constitutional principles, we must first look at the facts of this case to

 determine at what point during the night, if at all, Mr. Crouch presented an objectively

 serious medical need. In the absence of a physician’s diagnosis, as is the case here, we

 must determine whether and if so when it would have been obvious to a layperson that

 Mr. Crouch required immediate medical attention. Clearly, by 3:00 a.m., when Officer

 Purnell found Mr. Crouch unresponsive, there was an obvious and immediate need for

 medical attention. However, at that point, the undisputed facts show that none of the

 named defendants disregarded or ignored the obvious risk to Mr. Crouch’s health, but

 rather immediately addressed the obviously dire situation. After moving Mr. Crouch

 from the steps to the floor, Officers Barnes and Crisp immediately began administering

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 CPR, while Officer Purnell called 911 to summon an ambulance, which arrived shortly

 after. Because these facts establish that the officers responded reasonably to what was, at

 that point, a serious medical need, none of the named defendants can be held liable for

 those actions. See Peate v. McCann, 294 F.3d 879, 882 (7th Cir. 2002) (“[P]rison

 officials who actually knew of a substantial risk to inmate health or safety are free from

 liability if they responded reasonably to the risk, even if the harm ultimately was not

 averted, because in that case it cannot be said that they were deliberately indifferent.”)

 (citations omitted).

        Next, we must decide whether Mr. Crouch showed signs of an objectively serious

 need for medical attention at some point prior to 3:00 a.m. in response to which the

 named defendants were deliberately indifferent. In making this determination, we turn

 first to the named officers’ testimony regarding their observations of Mr. Crouch from the

 time he returned to the WRC on August 6, 2007. By the time Mr. Crouch returned to the

 WRC, Officer Crisp had already spoken with Ms. Hall over the telephone and had been

 told that Ms. Hall believed Mr. Crouch was under the influence of drugs and should seek

 medical attention. When he arrived at the WRC, approximately two hours after Ms. Hall

 had last seen him, both Officer Crisp and Officer Purnell observed that, while Mr.

 Crouch’s speech was slurred, he was able to communicate, follow directions, and answer

 questions. They also saw that his balance was slightly off, but that he was able to stand

 and walk without assistance. Officers Crisp and Purnell observed that Mr. Crouch’s eyes

 appeared glassy and red, but when asked, Mr. Crouch denied having taken any drugs

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 beyond his prescription medication that was administered at the WRC and stated that he

 was tired because he had been up since 4:00 in the morning. The officers checked the log

 and confirmed that he had indeed been awake since that time.

        Throughout the night, the officers observed Mr. Crouch come to the control desk

 multiple times to ask for food and water and accompanied him to the vending machine on

 one occasion. Mr. Crouch also walked from the stairway to the bathroom several times

 throughout the night for drug screening attempts and was sufficiently functional to be

 able to fill out the paperwork required for the drug testing. When Officer Barnes arrived

 on duty at 11:00 p.m., he was advised that Ms. Hall had reported her opinion that Mr.

 Crouch was under the influence of drugs and that Mr. Crouch was therefore sitting in the

 stairway awaiting the next attempted drug test. Officer Barnes testified that Mr. Crouch

 seemed “somewhat thick-tongued” but was responsive to questions and understood

 directions. Although his balance was not perfect, Mr. Crouch could stand and walk

 unassisted. Officer Purnell testified that Mr. Crouch appeared to become less intoxicated

 as the night wore on. Around midnight, Mr. Crouch requested his prescription

 medication, clonidene, which was later administered.5 At some point during the early

        5
          Officer Barnes testified by affidavit that he researched the Internet and was unable to
 find a reason not to administer the medication. However, he mistakenly identified the
 medication as heart medicine when it is in fact used to treat high blood pressure. Both Officers
 Barnes and Crisp testified that they knew a medication that lowers blood pressure could be
 harmful to a person already impaired on drugs. Nevertheless, there is no indication that Officer
 Barnes’s misidentification of the medicine was anything other than a mistake, or that the officers
 otherwise knew that clonidene lowered blood pressure. Thus, the administration of the
 medication has no relevance to the deliberate indifference analysis as none of the officers were
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 morning hours of August 7, 2007, Officer Purnell saw Mr. Crouch move from his chair to

 the steps and appear go to sleep on the stairway, an action consistent with Mr. Crouch’s

 report that he was tired due to the fact that he had been up since 4:00 a.m. the previous

 morning. At approximately 2:07 a.m., the security video shows that Officer Crisp

 approached the stairway where Mr. Crouch was sleeping and held out his cell phone in

 the direction of the stairs. He then returned to the control desk and showed his cell phone

 screen to Officers Barnes and Purnell. The officers made no other observations of Mr.

 Crouch until they found him unresponsive at 3:00 a.m.

        It is clear from these facts that the officers had sufficient information from which

 to draw an inference that Mr. Crouch was under the influence of drugs when he first

 arrived back at the WRC on August 6, 2007. In fact, the record shows that, based upon

 their own observations and the information provided by Ms. Hall, Officers Purnell and

 Crisp did in fact draw that inference, in response to which they decided that Mr. Crouch

 should undergo a urine test to confirm their suspicions after a blood-alcohol test of Mr.

 Crouch returned negative. Although Officer Barnes was not on duty when Mr. Crouch

 first returned to the WRC, when Officer Barnes did arrive to start his shift, he was told

 that Mr. Crouch was sitting in the stairway for observation because he had yet to

 successfully complete a drug test. Officer Barnes conducted his own observations of Mr.

 Crouch’s condition from which he too concluded that Mr. Crouch was possibly under the


        5
         (...continued)
 aware that clonidene could have been a risk to Mr. Crouch’s health.

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 influence of drugs. However, the mere fact that an individual is exhibiting signs of

 having taken drugs does not necessarily mean he presents an objectively serious need for

 medical attention. See Burnette v. Taylor, 533, F.3d 1325, 1333 (11th Cir. 2008) (“The

 Constitution does not require an arresting police officer or jail official to seek medical

 attention for every arrestee or inmate who appears to be affected by drugs or alcohol.”).

 We find nothing in the officers’ testimony to indicate that, prior to 3:00 a.m., Mr. Crouch

 was exhibiting signs that he was suffering from a more serious drug-related condition,

 such as an overdose, or any other condition that required immediate medical attention.6

        Plaintiff argues that the testimony of other individuals, including Ms. Hall and

 three residents at the WRC – Mr. Gray, Mr. Pierce, and Mr. Stonebarger – regarding their

 opinions that Mr. Crouch’s situation was such that he did, in fact, require medical

 treatment prior to 3:00 a.m. (when Defendants ultimately sought assistance), when

 considered along with the behavior of the officers towards Mr. Crouch, establishes that

 Mr. Crouch’s condition was actually much worse than described by any of the officers.

 Plaintiff contends that the observations of the outside laypersons demonstrate that Mr.

 Crouch was suffering from an objectively serious medical need during that timeframe

        6
          Plaintiff contends that the fact that Officer Crisp allegedly took a cell phone photograph
 of Mr. Crouch “in what must have been a contorted and unusual position” (Pl.’s Resp. at 16) and
 then showed the cell phone screen to Officers Barnes and Purnell is evidence of deliberate
 indifference. Assuming a photograph was taken, such behavior is obviously extremely
 inappropriate. However, it does not show that the officers were in possession of facts from
 which an inference of the existence of a serious medical need could be drawn. There is no copy
 of a photograph in the record, so Plaintiff’s description of Mr. Crouch’s position is completely
 speculative. The fact that Mr. Crouch was sleeping on the stairs at that point in the night is
 insufficient to show that he was then suffering from an objectively serious medical condition.

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 and, because that risk to Mr. Crouch’s health was obvious, the officers’ subjective

 knowledge of that risk should be inferred.

        It is true that, under Seventh Circuit law, “a factfinder may conclude that a prison

 official knew of a substantial risk from the very fact that the risk was obvious.” Hayes,

 546 F.3d at 522 (quoting Farmer, 511 U.S. at 842). However, the Supreme Court has

 made it clear that “the obviousness of a risk is not conclusive” and “[i]t is not enough

 merely to find that a reasonable person would have known, or that the defendant should

 have known.” Farmer, 511 U.S. at 843 n.8. Rather, the court must determine whether the

 officers had been exposed to sufficient information concerning the risk, either through

 their own observations or from reports of others present to conclude that they had

 knowledge of it. See id. at 842-43. In other words, in order to satisfy both the objective

 and the subjective parts of the deliberate indifference inquiry, Plaintiff must show, first,

 that the observations of Mr. Crouch’s condition made by Ms. Hall and the three WRC

 residents do in fact demonstrate an objectively serious medical need, and second, that the

 officers had sufficient awareness of the third parties’ observations to conclude that the

 officers knew of Mr. Crouch’s serious medical condition but intentionally or recklessly

 disregarded it.

        To resolve these issues, we turn first to Ms. Hall’s testimony. In her affidavit, Ms.

 Hall testified that, when she saw Mr. Crouch at approximately 5:30 p.m. on August 6,

 2007, his eyes were rolling back in his head, he was rocking back and forth, and needed

 to lean on the counter to stand. However, there is no indication in the record that she

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 relayed this specific information to Officer Crisp when she spoke to him at approximately

 6:30 p.m. that same day, and thus, that knowledge cannot be imputed to the officers. Ms.

 Hall testified only that she told Officer Crisp that it had taken Mr. Crouch ten minutes to

 sign his name on a required form and that she believed Mr. Crouch should be drug tested

 and sent to the hospital for medical attention when he returned to the WRC. There is no

 evidence that Officer Crisp told either Officer Purnell or Officer Barnes that Ms. Hall had

 recommended that Mr. Crouch be seen by medical personnel.

        Because Mr. Crouch did not arrive back at the WRC until sometime between 7:30

 and 8:00 p.m., approximately two, to two and a half, hours after Ms. Hall had observed

 him, it is unclear to what degree his condition may have changed within that time period.

 Thus, even if Ms. Hall had told Officer Crisp about the other symptoms she had observed

 (eyes rolling back, rocking back and forth, and needing the counter for balance) which

 may have then indicated a more serious condition, those observations would not be

 especially helpful or even accurate in determining Mr. Crouch’s condition at the time the

 officers first came in contact with him. For that same reason, Ms. Hall’s belief that Mr.

 Crouch required medical attention at the time she saw him is not particularly instructive.

 In light of the time interval between her observations and those by the officers at the

 correctional facility, we are unable to credit Ms. Hall’s opinion as being more persuasive

 than the observations made by the officers of Mr. Crouch’s condition at the time he

 returned to the WRC. It is not as if the officers ignored Ms. Hall’s information

 altogether. In part based upon the information Ms. Hall provided Officer Crisp, when Mr.

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 Crouch finally arrived back at the WRC, Officers Crisp and Purnell determined that he

 was impaired and attempted on multiple occasions to obtain a drug test and kept Mr.

 Crouch in a location where he could be observed. However, based on the symptoms Mr.

 Crouch was exhibiting at that time, neither Officer Crisp nor Officer Purnell believed

 immediate medical attention to be necessary, and there is nothing in the record that would

 indicate otherwise.

        Plaintiff also points to the testimony of various residents at the WRC regarding

 Mr. Crouch’s condition during the evening hours of August 6, 2007 and early morning

 hours of August 7, 2007 to demonstrate both that Mr. Crouch exhibited a serious medical

 need prior to the point at which the named officers sought medical assistance and that the

 officers had knowledge of the risk to Mr. Crouch’s health. One resident, Mr. Gray

 testified that “late at night” on August 6, 2007, he saw Mr. Crouch sitting on the stairs

 and that Mr. Crouch “could barely lift his head,” but when he did, Mr. Gray observed Mr.

 Crouch’s “eyes rolling around in different directions.” Gray Aff. ¶¶ 3-4. In his affidavit,

 Mr. Gray states that it was “obvious” that Mr. Crouch had overdosed on drugs and that he

 himself “definitely” would have taken Mr. Crouch to the hospital. Id. ¶¶ 4, 7-8. Mr.

 Stonebarger, another WRC resident, stated that, at some point on the night of August 6,

 2007, he observed that Mr. Crouch “could barely hold his head up,” had “something that

 looked like bubbles or foam” coming out of his nose. Stonebarger Aff. ¶¶ 7-8.

 According to Mr. Stonebarger, Mr. Crouch “was in the worst condition” of any

 intoxicated individual he (Mr. Stonebarger) had ever seen. Id. ¶ 12. A third WRC

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 resident, Mr. Pierce, stated that he saw Mr. Crouch at approximately 9:30 p.m., 11:30

 p.m., and midnight. In his declaration, Mr. Pierce testified that, around midnight, Mr.

 Crouch was “slouched over on the stairs” and appeared to be sleeping. Pierce Decl. ¶ 19.

 Mr. Pierce contends that, at that time, Officer Purnell was making fun of Mr. Crouch and

 making jokes about how Mr. Crouch was just “sleeping it off.” Id. ¶ 21. All three WRC

 residents also testified that they heard Mr. Crouch request medical attention at various

 times throughout the night but that he was never provided such help.

        Initially, we note that our review of the security video recorded on the dates at

 issue in this litigation raises questions regarding the veracity of some parts of the

 residents’ testimony.7 Because the residents do not for the most part pinpoint the exact

 times at which they made specific observations, it is difficult to definitively compare their

 testimony to the video footage. Even so, the residents’ testimony does not in many

 respects appear to be corroborated by the video evidence in the record. For example, Mr.

 Gray testified that he observed Mr. Crouch two times on the night of August 6, 2007,

 about an hour apart, and that on the second occasion, Mr. Crouch could barely raise his

 head and his eyes were rolling in different directions. Although Mr. Gray did not state

 the precise times at which he observed Mr. Crouch, the security video shows Mr. Gray


        7
          We are unable to compare Mr. Stonebarger’s testimony to the video footage because we
 have no way of determining the times at which Mr. Stonebarger’s observations of Mr. Crouch
 took place. Mr. Stonebarger testimony does not reveal the times at which he made his
 observations, nor are the WRC’s records helpful because they show only that Mr. Stonebarger
 arrived at the WRC at approximately 5:00 p.m. on August 6, 2007 (before Mr. Crouch’s arrival)
 and did not leave during the remainder of the evening.

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 arriving at the WRC at approximately 9:21 p.m. and returning to the control desk at 10:27

 p.m., prior to leaving the building at approximately 10:36 p.m.8 Mr. Gray returned to the

 building at 11:02 p.m. and left the control desk at approximately 11:04 p.m. It is unclear

 whether Mr. Gray’s second observation of Mr. Crouch occurred between 10:27 p.m. and

 10:36 p.m. or between 11:02 p.m. and 11:04 p.m. Assuming it was around 10:30 p.m.,

 the video footage shows that, while Mr. Gray was at the desk, Mr. Crouch got up and,

 accompanied by Officer Crisp, walked without assistance down the hall presumably for

 another attempted drug screen. These actions are thus completely inconsistent with Mr.

 Gray’s testimony that Mr. Crouch could barely hold up his head. Alternatively, if Mr.

 Gray’s observations occurred at approximately 11:00 p.m., then just fifteen minutes

 before that time, Mr. Crouch had returned from a trip to the vending machine and within

 ten minutes after Mr. Gray’s observation, Mr. Crouch again stood up for another

 attempted drug screen.

        Mr. Pierce testified that he saw Mr. Crouch three times: at approximately 9:30

 p.m., 11:30 p.m., and between midnight and 12:30 a.m. According to Mr. Pierce, at 11:30

 p.m., Mr. Crouch told Officer Purnell that he (Crouch) needed to go to the hospital and,

 when that request was refused, Mr. Crouch requested a glass of water, which was also

 refused. However, the security video shows that Mr. Crouch returned from an attempted

        8
          We rely on the information contained in Officer Crisp’s supplemental affidavit to aid in
 our interpretation of the security video and identification of the individuals appearing in the
 footage. In his supplemental affidavit, Officer Crisp testified that, due to his employment as a
 correctional officer at the WRC during the relevant time period, he is able to identify Mr. Gray,
 Mr. Stonebarger, and Mr. Pierce by sight.

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 drug screen at approximately 11:20 p.m. and remained on the stairs until approximately

 11:40 p.m., at which point he came to the desk and was given, not refused, a cup of water.

 Between midnight and 12:30 a.m., the time period at which Mr. Pierce testified that Mr.

 Crouch was slouched over on the stairs sleeping, the video footage shows that Mr. Crouch

 made three trips between the stairs and the control desk. The video footage thus appears

 to be consistent with the officers’ testimony that it was at this point that Mr. Crouch

 requested his prescription medication.

        It is true that, as Defendants argue, where there is conflict between video evidence

 and testimony, the Supreme Court has held that, “when opposing parties tell two different

 stories, one blatantly contradicted by the record, so that no reasonable jury could believe

 it, a court should not adopt that version of the facts for purposes of ruling on summary

 judgment.” Scott v. Harris, 550 U.S. 372, 380 (2007). However, because it is impossible

 for us to determine exactly when the residents’ observations took place and to establish

 with certainty the existence of a blatant contradiction, we shall not completely disregard

 their testimony. Nevertheless, the security video at least shows that, throughout the time

 period that Mr. Gray, Mr. Pierce, and Mr. Stonebarger had the opportunity to observe Mr.

 Crouch, he was often visible on the video, walking to and from the control desk and

 interacting with the officers on duty, which is to say not so impaired as to present a

 serious medical emergency or need for care.

        Even assuming the residents’ observations of Mr. Crouch’s condition are true,

 their testimony does not establish that the named officers were in possession of the same

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 facts from which they could have and should have drawn an inference of a serious

 medical need prior to 3:00 a.m., when they found Mr. Crouch unresponsive. As

 Defendants assert, some of the residents’ observations, such as those regarding Mr.

 Crouch being slumped over on the steps sleeping or barely able to lift his head, are

 similar to observations made by the officers themselves at certain points throughout the

 night and could be considered consistent with Mr. Crouch’s explanation to Officers Crisp

 and Purnell that he was merely tired and that his groggy condition was the result of his

 having been awake since 4:00 a.m.

        While Mr. Pierce and Mr. Stonebarger contend that Mr. Crouch requested and was

 denied medical assistance on multiple occasions (which the officers deny), the officers

 had the opportunity that none of the residents had had to interact with Mr. Crouch over a

 number of hours and to observe him walking unassisted to attempted drug screenings, to

 the control desk, and to the vending machine as well as his understanding and following

 directions. Moreover, despite repeated attempts, Mr. Crouch never did give a urine

 sample. There is no testimony that Mr. Crouch ever provided an explanation of his need

 for medical attention. Thus, even if such requests were made by him, no evidence has

 been adduced to suggest that any of the officers interpreted or understood those requests

 to indicate that Mr. Crouch’s health was seriously at risk, as opposed for example to an

 effort by him to evade drug screening. See Farmer, 511 U.S. at 837 (“[T]he official must

 both be aware of facts from which the inference could be drawn that a substantial risk for

 serious harm exists, and he must also draw that inference.”).

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        The more potentially meritorious allegations levied by the residents, including Mr.

 Gray’s testimony that he saw Mr. Crouch’s eyes rolling around in different directions and

 Mr. Stonebarger’s testimony that bubbles or foam were at one point coming out of his

 nose, could clearly have signaled a more serious condition. However, even if we were to

 assume that those symptoms were sufficient to establish an objectively serious medical

 condition, the evidence would have to establish that the officers were also aware of those

 circumstances and were facts within their knowledge in order to establish that they acted

 with deliberate indifference to them. See Dale v. Poston, 548 F.3d 563, 569 (7th Cir.

 2008) (“The deliberate indifference test . . . has both objective and subjective prongs, the

 former requiring a grave risk and the latter requiring actual knowledge of that risk.”).

 There is no indication that Mr. Gray, Mr. Pierce, or Mr. Stonebarger ever reported any of

 their observations to the named officers or otherwise openly expressed their belief to the

 officers that Mr. Crouch was in need of medical assistance. Nor is there evidence in the

 record to conclude that any of the officers were made aware of those observations through

 any other means.

        In sum, our review of the facts before us leads us to conclude that none of the

 named officers were in possession of sufficient facts from which they could or should

 have drawn an inference of a serious medical need on the part of Mr. Crouch prior to the

 time at which they discovered that Mr. Crouch was unresponsive. At that point, they

 undertook reasonable actions to address Mr. Crouch’s obvious and dire need for medical

 attention. For the foregoing reasons, we find that Officers Crisp, Purnell, and Barnes did

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 not intentionally disregard a known risk to Mr. Crouch’s health or safety. Accordingly,

 we GRANT Defendants’ Motion for Summary Judgment as to Plaintiff’s Section 1983

 claim against the individual defendants.9



        B.      Madison County

        Plaintiff also seeks § 1983 relief against Madison County. This claim must be

 evaluated under Monell v. Department of Social Services of the City of New York and its

 progeny, which elucidate the circumstances in which municipalities and other local

 government units can be held liable under § 1983. 436 U.S. 658 (1978). “[A]

 municipality cannot be held liable solely because it employs a tortfeasor – or, in other

 words, a municipality cannot be held liable under § 1983 on a respondeat superior

 theory.” Id. at 691. Thus, “units of local government are responsible only for their

 policies rather than misconduct by their workers.” Fairley v. Fermaint, 482 F.3d 897, 904

 (7th Cir. 2007). To establish governmental liability, a plaintiff generally must produce

 evidence of:

        (1) an express policy that, when enforced, causes a constitutional deprivation;
        (2) a widespread practice that, although not authorized by written law or
        express municipal policy, is so permanent and well settled as to constitute a
        “custom or usage” with the force of law; or (3) an allegation that the
        constitutional injury was caused by a person with “final policymaking


        9
          In the event that their actions were found to violate Mr. Crisp’s constitutional rights,
 Officers Purnell, Crisp, and Barnes have asserted that they are entitled to qualified immunity.
 Because, as detailed above, we have found that Mr. Crouch’s constitutional rights were not
 violated, we have not included a qualified immunity analysis in this ruling.

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        authority.”

 Lewis v. City of Chicago, 496 F.3d 645, 656 (7th Cir. 2007) (quoting Phelan v. Cook

 County, 463 F.3d 773, 789 (7th Cir. 2006)).

        In certain circumstances, a municipality can be held liable under § 1983 if its

 failure to train its employees results in a constitutional violation; this is the gist of

 Plaintiff’s allegations here. However, it is clear under applicable Seventh Circuit law that

 “there can be no liability under Monell for failure to train when there has been no

 violation of the plaintiff’s constitutional rights.” Jenkins v. Bartlett, 487 F.3d 482, 492

 (7th Cir. 2007) (citing Alexander v. City of South Bend, 433 F.3d 550, 557 (7th Cir.

 2006)). Having determined that the individual officers’ actions were not violative of Mr.

 Crouch’s constitutional rights, Madison County cannot be held liable for any failure to

 train these officers. Accordingly, we GRANT Defendant’s Motion for Summary

 Judgment on Plaintiff’s Monell claim.



 III.   State Law Claims

        Plaintiff also asserts a state law claim for negligence in connection with Mr.

 Crouch’s death. In response, Defendants contend that they are entitled to immunity under

 Indiana Code § 34-13-3-3(17), which falls within the Indiana Tort Claims Act. That

 statute provides in relevant part:

        A governmental entity or an employee acting within the scope of the
        employee’s employment is not liable if a loss results from the following:


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        (17)   injury to the person or property of a person under supervision of a
               governmental entity and who is:

               (A)    on probation; or
               (B)    assigned to an alcohol and drug services program under I.C. §
                      12-23, a minimum security release program under I.C. § 11-
                      10-8, a pretrial conditional release program under I.C. § 35-
                      33-8, or a community correction program under I.C. § 11-12.

 Ind. Code § 34-13-3-3(17).

        Defendants contend that, under the plain language of the statute, they are entitled

 to immunity from Plaintiff’s state law negligence claim. Plaintiff rejoins that this

 provision is ambiguous, requiring the Court to determine and give effect to the intent of

 the legislature.10 Plaintiff maintains that the disputed provision is ambiguous in that it is

 susceptible to either of the following two interpretations: (1) a governmental entity is

 never liable for injury to a person who is assigned to a qualifying community corrections

 program, which is the interpretation advocated by Defendants; or (2) a governmental

 entity is not liable for injury to a person assigned to a qualifying community corrections

 program when the person is under supervision but not in direct physical custody, which is

 the interpretation advocated by Plaintiff. Pl.’s Resp. at 25.

        It is well-established under Indiana law that, “[w]hen faced with a question of

 statutory interpretation, [a court must] first examine whether the language of the statute is



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           There is no dispute that Mr. Crouch had been sentenced to the WRC, a community
 correction program under Ind. Code § 11-12.

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 clear and unambiguous. State v. American Family Voices, Inc., 898 N.E.2d 293, 297

 (Ind. 2008) (citing City of Carmel v. Steele, 865 N.E.2d 612, 618 (Ind. 2007)). If there is

 no ambiguity, words and phrases are simply to be given their ordinary and usual

 meanings. Id. Here, we do not find the disputed provision ambiguous; thus, we shall

 give the words in the statute their plain and ordinary meaning.

        Plaintiff argues that the statute is properly read as providing immunity only when

 “the person is under supervision but not in direct physical custody.” Pl.’s Resp. at 25.

 However, nothing in the specific language of the disputed provision supports Plaintiff’s

 interpretation. As Defendants contend, Plaintiff’s interpretation only makes sense if such

 a qualification were expressly included in the language of the statute. If the Indiana

 General Assembly had intended that interpretation, it could have written in that

 distinction. We are bound by the statute as written because, under well-established

 Indiana law, the court may not extend the plain meaning of a statute by adding language

 that does not already appear. Neal v. Pike Township, 639 N.E.2d 299, 302 (Ind. Ct. App.

 1994) (“This court will not add to a statute language which does not exist therein.”).

        Thus, we hold that Defendants are entitled to immunity from Plaintiff’s state law

 negligence claim, based on Indiana Code § 34-13-3-3(17), as Mr. Crouch’s death

 occurred while he was assigned to a community corrections program maintained under

 the supervision of a governmental entity. Accordingly, we GRANT Defendants’ Motion

 for Summary Judgment as to Plaintiff’s state law negligence claim.



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 IV.   Conclusion

       For the reasons detailed above, we GRANT Defendant’s Motion for Summary

 Judgment in its entirety. Final judgment shall enter accordingly.

       IT IS SO ORDERED.



        01/06/2010
 Date: __________________
                                                    _______________________________
                                                     SARAH EVANS BARKER, JUDGE
                                                     United States District Court
                                                     Southern District of Indiana




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 Copies to:

 David Robert Brimm
 WAPLES & HANGER
 dbrimm@wapleshanger.com

 Jaunae M. Hanger
 WAPLES & HANGER
 hangerj@iquest.net

 Ronald J. Semler
 STEPHENSON MOROW & SEMLER
 rsemler@stephlaw.com

 Richard A. Waples
 WAPLES & HANGER
 richwaples@aol.com




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